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5

6
                                   UNITED STATES DISTRICT COURT
7                            FOR THE WESTERN DISTRICT OF WASHINGTON,
                                            AT SEATTLE
8
     WESTERN NATIONAL MUTUAL
9    INSURANCE COMPANY, a foreign Insurer,                Cause No. 2:23-cv-1897

10                          Plaintiff,                    COMPLAINT FOR DECLARATORY
                                                          JUDGMENT
11            vs.

12   BALAJI LOGISTICS INC., a Washington
     corporation,
13
                            Defendant.
14

15                                               I. PARTIES

16            1.1      Plaintiff Western National Mutual Insurance Company (hereinafter “Western

17   National”) is a foreign insurance company licensed to conduct business in the State of

18   Washington. Western National is organized under the laws of Minnesota and has its principal

19   place of business in Minnesota.

20            1.2      Defendant Balaji Logistics Inc. (hereinafter “Balaji Logistics”) is a Washington

21   Corporation with its principal place of business in Washington.

22

23

24   COMPLAINT FOR DECLARATORY JUDGMENT – 1                                       SOHA & L ANG, P.S.
                                                                                     ATTORNEYS AT LAW
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1                                     II. JURISDICTION AND VENUE

2             2.1      This Court has subject matter jurisdiction under 28 U.S.C. § 1332 because there

3    is complete diversity of citizenship between the parties, and the amount in controversy exceeds

4    $75,000, exclusive of interest and costs.

5             2.2      Venue is proper in this Court under 28 U.S.C. § 1391 because the defendant

6    resides in and a substantial number of the events or omissions giving rise to the claims occurred

7    in the Western District of Washington.

8             2.3      This Court has the authority to determine the parties’ respective rights and other

9    legal obligations pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201. The

10   dispute between the parties creates a justiciable controversy.

11                                                III. FACTS

12   A.       The ACF Lawsuit

13            3.1      On or about July 27, 2023, Balaji Logistics filed an action captioned Balaji

14   Logistics Inc., dba Ponderosa Pacific v. ACF West Construction Company, Inc., King County

15   Superior Court Cause No. 23-2-13883-0 SEA (hereinafter “ACF Lawsuit”), naming ACF West

16   Construction Company, Inc. (“ACF”) as defendant.

17            3.2      On or about August 23, 2023, ACF filed counterclaims against Balaji Logistics.

18            3.3      ACF alleged that Balaji Logistics failed to pay ACF for ACF’s work pursuant to

19   a contract between Balaji Logistics and ACF, and was thus damaged in the amount of

20   $177,208.59 plus interest.

21            3.4      Western National is providing a defense under a full reservation of rights to

22   Balaji Logistics under an insurance policy issued to Balaji Logistics for all claims alleged

23   against it in the ACF lawsuit.

24   COMPLAINT FOR DECLARATORY JUDGMENT – 2                                        SOHA & L ANG, P.S.
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1    B.       The Balaji Logistics CGL Policy

2             3.5      Western National issued policy CPP 1266050 to Balaji Logistics Inc., effective

3    from May 29, 2022 to May 29, 2023 (hereinafter “Balaji Logistics CGL Policy”). Ponderosa

4    Pacific Inc. was also a named insured listed on the Policy’s Named Insured Schedule.

5             3.6      The Balaji Logistics CGL Policy included Commercial General Liability

6    (hereinafter “CGL”) coverage, written on Form CG 00 01 04 13, with an occurrence limit of

7    $1,000,000, a General Aggregate Limit (Other than Products-Completed Operations) of

8    $2,000,000 and a Products-Completed Operations Limit of $2,000,000.

9             3.7      The insuring agreement for Coverage A of the Balaji Logistics CGL Policy

10   includes the following language:

11            SECTION I – COVERAGES
              COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE
12            LIABILITY
13            1.       Insuring Agreement
                       a.     We will pay those sums that the insured becomes legally
14                            obligated to pay as damages because of “bodily injury” or
                              “property damage” to which this insurance applies. We will have
15                            the right and duty to defend the insured against any “suit”
                              seeking those damages. However, we will have no duty to defend
16                            the insured against any “suit” seeking damages for “bodily
                              injury” or “property damage” to which this insurance does not
17                            apply. We may, at our discretion, investigate any “occurrence”
                              and settle any claim or “suit” that may result. But:
18
                              (1)    The amount we will pay for damages is limited as
19                                   described in Section III – Limits of Insurance; and
                              (2)    Our right and duty to defend ends when we have used up
20                                   the applicable limit of insurance in the payment of
                                     judgments or settlements under Coverages A or B or
21                                   medical expenses under Coverage C.
                              No other obligation or liability to pay sums or perform acts or
22
                              services is covered unless explicitly provided for under
                              Supplementary Payments – Coverages A and B.
23

24   COMPLAINT FOR DECLARATORY JUDGMENT – 3                                      SOHA & L ANG, P.S.
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1                      b.     This insurance applies to “bodily injury” and “property damage”
                              only if:
2                             (1)    The “bodily injury” or “property damage” is caused by an
                                     “occurrence” that takes place in the “coverage territory”;
3
                              (2)    The “bodily injury” or “property damage” occurs during
4                                    the policy period; and
                              (3)     Prior to the policy period, no insured listed under
5                                    Paragraph 1. of Section II – Who Is An Insured and no
                                     “employee” authorized by you to give or receive notice of
6                                    an “occurrence” or claim, knew that the “bodily injury” or
                                     “property damage” had occurred, in whole or in part. If
7                                    such a listed insured or authorized “employee” knew,
                                     prior to the policy period, that the “bodily injury” or
8                                    “property damage” occurred, then any continuation,
                                     change or resumption of such “bodily injury” or “property
9                                    damage” during or after the policy period will be deemed
                                     to have been known prior to the policy period.
10
              3.8      The Coverage A Exclusions include the following:
11
              2.       Exclusions
12                     This insurance does not apply to:

13                     a.     Expected or Intended Injury
                              “Bodily injury” or “property damage” expected or intended from
14                            the standpoint of the insured. This exclusion does not apply to
                              “bodily injury” resulting from the use of reasonable force to
15                            protect persons or property.
                       b.     Contractual Liability
16
                              “Bodily injury” or “property damage” for which the insured is
17                            obligated to pay damages by reason of the assumption of liability
                              in a contract or agreement. This exclusion does not apply to
18                            liability for damages:
                              (1)    That the insured would have in the absence of the contract
19                                   or agreement; or
20                            (2)    Assumed in a contract or agreement that is an “insured
                                     contract”, provided the “bodily injury” or “property
21                                   damage” occurs subsequent to the execution of the
                                     contract or agreement. Solely for the purposes of liability
22                                   assumed in an “insured contract”, reasonable attorneys’
                                     fees and necessary litigation expenses incurred by or for a
23                                   party other than an insured are deemed to be damages

24   COMPLAINT FOR DECLARATORY JUDGMENT – 4                                       SOHA & L ANG, P.S.
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1                                  because of “bodily injury “or “property damage”,
                                   provided:
2                                  (a)     Liability to such party for, or for the cost of, that
                                           party’s defense has also been assumed in the same
3                                          “insured contract”; and
4                                  (b)     Such attorneys’ fees and litigation expenses are
                                           for defense of that party against civil or alternative
5                                          dispute resolution proceeding in which damages to
                                           which this insurance applies are alleged.
6                                                   ***

7                      j.   Damage To Property
                            “Property damage” to:
8
                            (5)    That particular part of real property on which you or any
                                   subcontractors working directly ir indirectly on your
9
                                   behalf are performing operations, if the “property
                                   damage” arises out of those operations; or
10
                            (6)    That particular part of any property that must be restored,
11                                 repaired or replaced because “your work” was incorrectly
                                   performed on it.
12                          Paragraphs (3), (4), (5) and (6) of this exclusion for not apply to
                            liability assumed under a sidetrack agreement.
13
                            Paragraph (6) of this exclusion does not apply to “property
14                          damage” included in the “products-completed operations
                            hazard”.
15                     k.   Damage To Your Product
16                          “Property damage” to “your product “arising out of it or any part
                            of it.
17                     l.   Damage To Your Work

18                          “Property damage” to “your work” arising out of it or any part of
                            it and included in the “products-completed operations hazard”.
19                          This exclusion does not apply if the damaged work or the work
                            out of which the damage arises was performed on your behalf by
20                          a subcontractor.
                       m.   Damage To Impaired Property Or Property Not Physically
21
                            Injured
22                          “Property damage” to “impaired property” or property that has
                            not been physically injured, arising out of:
23

24   COMPLAINT FOR DECLARATORY JUDGMENT – 5                                       SOHA & L ANG, P.S.
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1                             (1)    A defect, deficiency, inadequacy or dangerous condition
                                     in “your product” or “your work”; or
2                             (2)    A delay or failure by you or anyone acting on your behalf
                                     to perform a contract or agreement in accordance with its
3                                    terms.
4                             This exclusion does not apply to the loss of use of other property
                              arising out of sudden and accidental physical injury to “your
5                             product” or “your work” after it has been put to its intended use.

6             3.9      The Balaji Logistics CGL Policy includes the following definitions:

7
              SECTION V – DEFINITIONS
8                                                  ***
              3.       “Bodily injury” means bodily injury, sickness or disease sustained by a
9
                       person, including death resulting from any of these at any time.
10                                                 ***
              8.       “Impaired property” means tangible property, other than “your product” or
11                     “your work”, that cannot be used or is less useful because:
12                     a.     It incorporates “your product” or “your work” that is known or
                              thought to be defective, deficient, inadequate or dangerous; or
13                     b.     You have failed to fulfill the terms of a contract or agreement; if
                              such property can be restored to use by the repair, replacement,
14                            adjustment or removal of “your product” or “your work” or your
                              fulfilling the terms of the contract or agreement.
15
              9.       “Insured contract” means:
16                                                 ***

17                     f.     That part of any other contract or agreement pertaining to your
                              business (including an indemnification of a municipality in
18                            connection with work performed for a municipality) under which
                              you assume the tort liability of another party to pay for “bodily
19                            injury” or “property damage” to a third person or organization,
                              provided the “bodily injury” or “property damage” is caused, in
20                            whole or in part, by you or those acting on your behalf. However,
                              such part of a contract or agreement shall only be considered an
21                            “insured contract” to the extent your assumption of the tort
                              liability is permitted by law. Tort liability means a liability that
22                            would be imposed by law in the absence of any contract or
                              agreement [As amended by the AMENDMENT OF INSURED
23                            CONTRACT DEFINITION endorsement.]]

24   COMPLAINT FOR DECLARATORY JUDGMENT – 6                                         SOHA & L ANG, P.S.
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1                                                ***
              13.      “Occurrence” means an accident, including continuous or repeated
2                      exposure to substantially the same general harmful conditions.
3                                                ***
              15.      “Pollutants” mean any solid, liquid, gaseous or thermal irritant or
4                      contaminant, including smoke, vapor, soot, fumes, acids, alkalis,
                       chemicals and waste. Waste includes materials to be recycled,
5                      reconditioned or reclaimed.

6             16.      “Products-completed operations hazard”:
                       a.     Includes all “bodily injury” and “property damage” occurring
7                             away from premises you own or rent and arising out of “your
                              product” or “your work” except:
8
                              (1)    Products that are still in your physical possession; or
9                             (2)    Work that has not yet been completed or abandoned.
                                     However, “your work” will be deemed completed at the
10                                   earliest of the following times:
                                     (a)    When all of the work called for in your contract
11                                          has been completed.
12                                   (b)    When all of the work to be done at the job site has
                                            been completed if your contract calls for work at
13                                          more than one job site.
                                     (c)    When that part of the work done at a job site has
14                                          been put to its intended use by any person or
                                            organization other than another contractor or
15                                          subcontractor working on the same project.
16                                   Work that may need service, maintenance, correction,
                                     repair or replacement, but which is otherwise complete,
17                                   will be treated as completed.
                       b.     Does not include “bodily injury” or “property damage” arising
18                            out of:

19                            (1)    The transportation of property, unless the injury or
                                     damage arises out of a condition in or on a vehicle not
20                                   owned or operated by you, and that condition was created
                                     by the “loading or unloading” of that vehicle by any
21                                   insured;
                              (2)    The existence of tools, uninstalled equipment or
22                                   abandoned or unused materials; or
                              (3)    Products or operations for which the classification, listed
23
                                     in the Declarations or in a policy Schedule, states that
24   COMPLAINT FOR DECLARATORY JUDGMENT – 7                                         SOHA & L ANG, P.S.
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1                                      products-completed operations are subject to the General
                                       Aggregate Limit.
2             17.      “Property damage” means:
3                      a.     Physical injury to tangible property, including all resulting loss of
                              use of that property. All such loss of use shall be deemed to occur
4                             at the time of the physical injury that caused it; or
                       b.     Loss of use of tangible property that is not physically injured. All
5                             such loss of use shall be deemed to occur at the time of the
                              “occurrence” that caused it.
6
                       For the purposes of this insurance, electronic data is not tangible
7                      property. As used in this definition, electronic data means information,
                       facts or programs stored as or on, created or used on, or transmitted to or
8                      from computer software, including systems and applications software,
                       hard or floppy disks, CD-ROMS, tapes, drives, cells, data processing
9                      devices or any other media which are used with electronically controlled
                       equipment.
10                                                ***
              21.      “Your product”:
11
                       a.     Means:
12                            (1)      Any goods or products, other than real property,
                                       manufactured, sold, handled, distributed or disposed of
13                                     by:
14                                     (a)    You;
                                       (b)    Others trading under your name; or
15
                                       (c)    A person or organization whose business or assets
16                                            you have acquired; and
                              (2)      Containers (other than vehicles), materials, parts or
17                                     equipment furnished in connection with such goods or
                                       products.
18
                       b.     Includes:
19                            (1)      Warranties or representations made at any time with
                                       respect to the fitness, quality, durability, performance or
20                                     use of “your product”; and
                              (2)      The providing of or failure to provide warnings or
21
                                       instructions.
22                     c.     Does not include vending machines or other property rented to or
                              located for the use of others but not sold.
23            22.      “Your work”:
24   COMPLAINT FOR DECLARATORY JUDGMENT – 8                                         SOHA & L ANG, P.S.
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1                      a.      Means:
                               (1)      Work or operations performed by you or on your behalf;
2                                       and
3                              (2)      Materials, parts or equipment furnished in connection
                                        with such work or operations.
4                      b.      Includes:

5                              (1)      Warranties or representations made at any time with
                                        respect to the fitness, quality, durability, performance or
6                                       use of “your work”; and
                               (2)      The providing of or failure to provide warnings or
7                                       instructions.

8             3.10     The Balaji Logistics CGL Policy includes Form IL 01 23 11 13, Washington

9    Changes – Defense Costs, which provides:

10                          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
                                             CAREFULLY.
11
                              WASHINGTON CHANGES – DEFENSE COSTS
12
                       This endorsement modifies insurance provided under the following:
13                                                     ***
              COMMERCIAL GENERAL LIABILITY COVERAGE PART
14
              A.       The provisions of Paragraph B. are added to all Insuring Agreements that
15                     set forth a duty to defend under:
                       1.      Section I of the Commercial General Liability, Commercial
16                             Liability Umbrella, Electronic Data Liability, Farm, Liquor
                               Liability, Owners And Contractors Protective Liability, Pollution
17                             Liability, Products/Completed Operations Liability, Product
                               Withdrawal, Medical Professional Liability, Railroad Protective
18                             Liability and Underground Storage Tank Coverage Parts, Auto
                               Dealers Coverage Form and the Farm Umbrella Liability Policy;
19
                                                   ***
20            B.       If we initially defend an insured (“insured”) or pay for an insured’s
                       (“insured’s”) defense but later determine that none of the claims
21                     (“claims”), for which we provided a defense or defense costs, are
                       covered under this insurance, we have the right to reimbursement for the
22                     defense costs we have incurred.

23

24   COMPLAINT FOR DECLARATORY JUDGMENT – 9                                          SOHA & L ANG, P.S.
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1                      The right to reimbursement under this provision will only apply to the
                       costs we have incurred after we notify you in writing that there may not
2                      be coverage and that we are reserving our rights to terminate the defense
                       or the payment of defense costs and to seek reimbursement for defense
3                      costs.

4             3.11     The Balaji Logistics CGL Policy includes Form WN CG 24 26 04 13 –

5    Amendment of Insured Contract Definition, which provides:

6                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE
                                        READ IT CAREFULLY.
7                           AMENDMENT OF INSURED CONTRACT DEFINITION
8                      This endorsement modifies insurance provided under the following:
                       COMMERCIAL GENERAL LIABILITY COVERAGE PART
9
                                                     ***
10            The definition of “insured contract” in the Definitions section is replaced by the
              following:
11
              “Insured contract” means:
12                     a.     A contract for a lease of premises. However, that portion of the
                              contract for a lease of premises that indemnifies any person or
13                            organization for damage by fire to premises while rented to you
                              or temporarily occupied by you with permission of the owner is
14                            not an “insured contract”;
                       b.     A sidetrack agreement;
15
                       c.     Any easement or license agreement, except in connection with
16                            construction or demolition operations on or within 50 feet of a
                              railroad;
17                     d.     An obligation, as required by ordinance, to indemnify a
                              municipality, except in connection with work for a municipality;
18
                       e.     An elevator maintenance agreement;
19                     f.     That part of any other contract or agreement pertaining to your
                              business (including an indemnification of a municipality in
20                            connection with work performed for a municipality) under which
                              you assume the tort liability of another party to pay for “bodily
21                            injury” or “property damage” to a third person or organization,
                              provided the “bodily injury” or “property damage” is caused, in
22                            whole or in part, by you or by those acting on your behalf.
                              However, such part of a contract or agreement shall only be
23                            considered an “insured contract” to the extent your assumption of

24   COMPLAINT FOR DECLARATORY JUDGMENT – 10                                      SOHA & L ANG, P.S.
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1                             the tort liability is permitted by law. Tort liability means a
                              liability that would be imposed by law in the absence of any
2                             contract or agreement.
                       Paragraph f. does not include that part of any contract or agreement:
3
                       (1)    That indemnifies a railroad for “bodily injury” or “property
4                             damage” arising out of construction or demolition operations,
                              within 50 feet of any railroad property and affecting any railroad
5                             bridge or trestle, tracks, road-beds, tunnel, underpass or crossing;
                       (2)    That indemnifies an architect, engineer or surveyor for injury or
6                             damage arising out of:

7                             (a)     Preparing, approving, or failing to prepare or approve,
                                      maps, shop drawings, opinions, reports, surveys, field
8                                     orders, change orders or drawings and specifications; or
                              (b)     Giving directions or instructions, or failing to give them,
9                                     if that is the primary cause of the injury or damage; or
                       (3)    Under which the insured, if an architect, engineer or surveyor,
10
                              assumes liability for an injury or damage arising out of the
                              insured's rendering or failure to render professional services,
11
                              including those listed in (2) above and supervisory, inspection,
                              architectural or engineering activities.
12
     C.       The Balaji Logistics Umbrella Policy
13
              3.12     Western National issued policy number UMB 1045000 01 to Balaji Logistics
14
     Inc., effective May 29, 2022 to May 29, 2023 (hereinafter “Balaji Logistics Umbrella Policy”).
15
              3.13     The Balaji Logistics Umbrella Policy was written on Form CU 00 01 04 13 and
16
     had a Coverage A Limit of $2,000,000 per occurrence, an Aggregate Limit for Liability
17
     Coverage except with respect to covered autos of $2,000,000, and a Retained Limit of $10,000
18
     for any one occurrence or offense.
19
              3.14     The Balaji Logistics CGL Policy is listed on the Balaji Logistic Umbrella
20
     Policy’s Schedule of Underlying Insurance.
21
              3.15     The insuring agreement for Coverage A of the Balaji Logistics Umbrella policy
22
     includes the following language:
23

24   COMPLAINT FOR DECLARATORY JUDGMENT – 11                                        SOHA & L ANG, P.S.
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1             SECTION I – COVERAGES
              COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE
2             LIABILITY
3             1.       Insuring Agreement
                       a.    We will pay on behalf of the insured the “ultimate net loss” in
4                            excess of the “retained limit” because of “bodily injury” or
                             “property damage” to which this insurance applies. We will have
5                            the right and duty to defend the insured against any “suit”
                             seeking damages for such “bodily injury” or “property damage”
6                            when the “underlying insurance” does not provide coverage or
                             the limits of “underlying insurance” have been exhausted. When
7                            we have no duty to defend, we will have the right to defend, or to
                             participate in the defense of, the insured against any other “suit”
8                            seeking damages to which this insurance may apply. However,
                             we will have no duty to defend the insured against any “suit”
9                            seeking damages for “bodily injury” or “property damage” to
                             which this insurance does not apply. At our discretion, we may
10                           investigate any “occurrence” that may involve this insurance and
                             settle any resultant claim or “suit” for which we have the duty to
11                           defend. But:

12                           (1)    The amount we will pay for the “ultimate net loss” is
                                    limited as described in Section III – Limits Of Insurance;
13                                  and
                             (2)    Our right and duty to defend ends when we have used up
14                                  the applicable limit of insurance in the payment of
                                    judgments or settlements under Coverages A or B. No
15                                  other obligation or liability to pay sums or perform acts or
                                    services is covered unless explicitly provided for under
16                                  Supplementary Payments – Coverages A and B.
                       b.    This insurance applies to “bodily injury” or “property damage”
17
                             that is subject to an applicable “retained limit”. If any other limit,
                             such as a sublimit, is specified in the “underlying insurance”, this
18
                             insurance does not apply to “bodily injury” or “property damage”
                             arising out of that exposure unless that limit is specified in the
19
                             Declarations under the Schedule of “underlying insurance”.
20
                       c.    This insurance applies to “bodily injury” and “property damage”
                             only if:
21
                             (1)    The “bodily injury” or “property damage” is caused by an
22                                  “occurrence” that takes place in the “coverage territory”;
                             (2)    The “bodily injury” or “property damage occurs during
23                                  the policy period; and
24   COMPLAINT FOR DECLARATORY JUDGMENT – 12                                        SOHA & L ANG, P.S.
                                                                                       ATTORNEYS AT LAW
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1                             (3)    Prior to the policy period, no insured listed under
                                     Paragraph 1.a. of Section II – Who Is An Insured and no
2                                    “employee” authorized by you to give or receive notice of
                                     an “occurrence” or claim, knew that the “bodily injury” or
3                                    “property damage” had occurred, in whole or in part. If
                                     such a listed insured or authorized “employee” knew,
4                                    prior to the policy period, that the “bodily injury” or
                                     “property damage” occurred, then any continuation,
5                                    change or resumption of such “bodily injury” or “property
                                     damage” during or after the policy period will be deemed
6                                    to have been known prior to the policy period.
              3.16     The Coverage A Exclusions include the following:
7

8             2.       Exclusions
                       This insurance does not apply to:
9
                       a.     Expected Or Intended Injury
10                            “Bodily injury” or “property damage” expected or intended from
                              the standpoint of the insured. This exclusion does not apply to
11                            “bodily injury” resulting from the use of reasonable force to
                              protect persons or property.
12
                       b.     Contractual Liability
13                            “Bodily injury” or “property damage” for which the insured is
                              obligated to pay damages by reason of the assumption of liability
14                            in a contract or agreement. This exclusion does not apply to
                              liability for damages:
15                            (1)    That the insured would have in the absence of the contract
                                     or agreement; or
16
                              (2)    Assumed in a contract or agreement that is an “insured
17                                   contract”, provided the “bodily injury” or “property
                                     damage” occurs subsequent to the execution of the
18                                   contract or agreement. Solely for the purposes of liability
                                     assumed in an “insured contract”, reasonable attorneys’
19                                   fees and necessary litigation expenses incurred by or for a
                                     party other than an insured are deemed to be damages
20                                   because of “bodily injury “or “property damage”,
                                     provided:
21                                   (a)     Liability to such party for, or for the cost of, that
                                             party’s defense has also been assumed in the same
22                                           “insured contract”; and
23

24   COMPLAINT FOR DECLARATORY JUDGMENT – 13                                        SOHA & L ANG, P.S.
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1                                     (b)      Such attorneys’ fees and litigation expenses are
                                               for defense of that party against a civil or
2                                              alternative dispute resolution proceeding in which
                                               damages to which this insurance applies are
3                                              alleged.
                                                   ***
4
              m.       Damage To Property
5                      “Property damage” to:

6                      (5)    That particular part of real property on which you or any
                              contractors or subcontractors working directly or indirectly on
7                             your behalf are performing operations, if the “property damage”
                              arises out of those operations; or
8                      (6)    That particular part of any property that must be restored,
                              repaired or replaced because “your work” was incorrectly
9                             performed on it.
                       Paragraphs (1)(b), (3), (4), (5) and (6) of this exclusion do not apply to
10
                       liability assumed under a sidetrack agreement.
11
                       Paragraph (6) of this exclusion does not apply to “property damage”
                       included in the “products-completed operations hazard.”
12
              n.       Damage To Your Product
13                     “Property damage” to “your product” arising out of it or any part of it.
14            o.       Damage To Your Work
                       “Property damage” to “your work” arising out of it or any part of it and
15                     included in the “products-completed operations hazard”.
16                     This exclusion does not apply if the damaged work or the work out of
                       which the damage arises was performed on your behalf by a
17                     subcontractor.
              p.       Damage To Impaired Property Or Property Not Physically Injured
18
                       “Property damage” to “impaired property” or property that has not been
19                     physically injured, arising out of:
                       (1)    A defect, deficiency, inadequacy or dangerous condition in “your
20                            product” or “your work”; or
                       (2)    A delay or failure by you or anyone acting on your behalf to
21
                              perform a contract or agreement in accordance with its terms.
22                     This exclusion does not apply to the loss of use of other property arising
                       out of sudden and accidental physical injury to “your product” or “your
23                     work” after it has been put to its intended use.

24   COMPLAINT FOR DECLARATORY JUDGMENT – 14                                        SOHA & L ANG, P.S.
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1             3.17     The Balaji Logistics Umbrella Policy includes the following definitions:

2             SECTION V – DEFINITIONS
3                                                  ***
              3.        “Bodily injury” means bodily injury, disability, sickness or disease
4                      sustained by a person, including death resulting from any of these at any
                       time. “Bodily injury” includes mental anguish or other mental injury
5                      resulting from “bodily injury”.

6                                                  ***
              8.       “Impaired property” means tangible property, other than “your product”
7                      or “your work”, that cannot be used or is less useful because:
                       a.     It incorporates “your product” or “your work” that is known or
8
                              thought to be defective, deficient, inadequate or dangerous; or
9                      b.     You have failed to fulfill the terms of a contract or agreement;
                              if such property can be restored to use by the repair, replacement,
10                            adjustment or removal of “your product” or “your work” or your
                              fulfilling the terms of the contract or agreement.
11

12            9.       “Insured contract” means:
                       g.     That part of any contract or agreement entered into, as part of
13                            your business, agreement pertaining to your business (including
                              an indemnification of a municipality in connection with work
14                            performed for a municipality) under which you assume the tort
                              liability of another party to pay for “bodily injury” or “property
15                            damage” to a third person or organization. Tort liability means a
                              liability that would be imposed by law in the absence of any
16                            contract or agreement [As amended by the AMENDMENT OF
                              INSURED CONTRACT DEFINITION endorsement.]]
17
                                                   ***
18            13.      “Occurrence” means an accident, including continuous or repeated
                       exposure to substantially the same general harmful conditions.
19
                                                   ***
20            15.      “Pollutants” mean any solid, liquid, gaseous or thermal irritant or
                       contaminant, including smoke, vapor, soot, fumes, acids, alkalis,
21                     chemicals and waste. Waste includes materials to be recycled,
                       reconditioned or reclaimed.
22
              17.      “Products-completed operations hazard”:
23

24   COMPLAINT FOR DECLARATORY JUDGMENT – 15                                        SOHA & L ANG, P.S.
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1                      a.     Includes all “bodily injury” and “property damage” occurring
                              away from premises you own or rent and arising out of “your
2                             product” or “your work” except:
                              (1)    Products that are still in your physical possession; or
3
                              (2)    Work that has not yet been completed or abandoned.
4                                    However, “your work” will be deemed completed at the
                                     earliest of the following times:
5                                    (a)     When all of the work called for in your contract
                                             has been completed.
6
                                     (b)     When all of the work to be done at the job site has
7                                            been completed if your contract calls for work at
                                             more than one job site.
8                                    (c)     When that part of the work done at a job site has
                                             been put to its intended use by any person or
9                                            organization other than another contractor or
                                             subcontractor working on the same project.
10
                              Work that may need service, maintenance, correction, repair or
                              replacement, but which is otherwise complete, will be treated as
11
                              completed.
12                     b.     Does not include “bodily injury” or “property damage” arising
                              out of:
13                            (1)    The transportation of property, unless the injury or
                                     damage arises out of a condition in or on a vehicle not
14                                   owned or operated by you, and that condition was created
                                     by the “loading or unloading” of that vehicle by any
15                                   insured; or
16                            (2)    The existence of tools, uninstalled equipment or
                                     abandoned or unused materials;
17            18.      “Property damage” means:
18                     a.     Physical injury to tangible property, including all resulting loss of
                              use of that property. All such loss of use shall be deemed to occur
19                            at the time of the physical injury that caused it; or
                       b.     Loss of use of tangible property that is not physically injured. All
20                            such loss of use shall be deemed to occur at the time of the
                              “occurrence” that caused it.
21
              19.      “Retained limit” means the available limits of “underlying insurance”
22                     scheduled in the Declarations or the “self-insured retention”, whichever
                       applies.
23

24   COMPLAINT FOR DECLARATORY JUDGMENT – 16                                        SOHA & L ANG, P.S.
                                                                                        ATTORNEYS AT LAW
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1             20.      “Self-insured retention” means the dollar amount listed in the
                       Declarations that will be paid by the insured before this insurance
2                      becomes applicable only with respect to “occurrences” or offenses not
                       covered by the “underlying insurance”. The “self-insured retention” does
3                      not apply to “occurrences” or offenses which would have been covered
                       by “underlying insurance” but for the exhaustion of applicable limits.
4                                                 ***
5             23.      “Ultimate net loss” means the total sum, after reduction for recoveries or
                       salvages collectible, that the insured becomes legally obligated to pay as
6                      damages by reason of settlement or judgments or any arbitration or other
                       alternate dispute method entered into with our consent or the “underlying
7                      insurer's” consent.
              24.      “Underlying insurance” means any policies of insurance listed in the
8                      Declarations under the Schedule of “underlying insurance”.

9             25.      “Underlying insurer” means any insurer who provides any policy of
                       insurance listed in the Schedule of “underlying insurance”.
10                                                ***
              27.      “Your product”:
11
                       a.     Means:
12                            (1)      Any goods or products, other than real property,
                                       manufactured, sold, handled, distributed or disposed of
13                                     by:
14                                     (a)    You;
                                       (b)    Others trading under your name; or
15
                                       (c)    A person or organization whose business or assets
16                                            you have acquired; and
                              (2)      Containers (other than vehicles), materials, parts or
17                                     equipment furnished in connection with such goods or
                                       products.
18
                       b.     Includes:
19                            (1)      Warranties or representations made at any time with
                                       respect to the fitness, quality, durability, performance or
20                                     use of “your product”; and
                              (2)     The providing of or failure to provide warnings or
21
                              instructions.
22                     c.     Does not include vending machines or other property rented to or
                              located for the use of others but not sold.
23            28.      “Your work”:
24   COMPLAINT FOR DECLARATORY JUDGMENT – 17                                        SOHA & L ANG, P.S.
                                                                                       ATTORNEYS AT LAW
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1                      a.      Means:
                               (1)      Work or operations performed by you or on your behalf;
2                              and
3                              (2)      Materials, parts or equipment furnished in connection
                                        with such work or operations.
4                      b.      Includes:

5                              (1)      Warranties or representations made at any time with
                                        respect to the fitness, quality, durability, performance or
6                                       use of “your work”; and
                               (2)      The providing of or failure to provide warnings or
7                                       instructions.

8             3.18     The Balaji Logistics Umbrella Policy includes Form IL 01 23 11 13,

9    Washington Changes – Defense Costs, which provides:

10                          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
                                             CAREFULLY.
11
                              WASHINGTON CHANGES – DEFENSE COSTS
12
                       This endorsement modifies insurance provided under the following:
13                                                     ***
              COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
14
              A.       The provisions of Paragraph B. are added to all Insuring Agreements that
15                     set forth a duty to defend under:
                       1.      Section I of the Commercial General Liability, Commercial
16                             Liability Umbrella, Electronic Data Liability, Farm, Liquor
                               Liability, Owners And Contractors Protective Liability, Pollution
17                             Liability, Products/Completed Operations Liability, Product
                               Withdrawal, Medical Professional Liability, Railroad Protective
18                             Liability and Underground Storage Tank Coverage Parts, Auto
                               Dealers Coverage Form and the Farm Umbrella Liability Policy;
19
                                                   ***
20            B.       If we initially defend an insured (“insured”) or pay for an insured’s
                       (“insured’s”) defense but later determine that none of the claims
21                     (“claims”), for which we provided a defense or defense costs, are
                       covered under this insurance, we have the right to reimbursement for the
22                     defense costs we have incurred.

23

24   COMPLAINT FOR DECLARATORY JUDGMENT – 18                                         SOHA & L ANG, P.S.
                                                                                        ATTORNEYS AT LAW
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1                      The right to reimbursement under this provision will only apply to the
                       costs we have incurred after we notify you in writing that there may not
2                      be coverage and that we are reserving our rights to terminate the defense
                       or the payment of defense costs and to seek reimbursement for defense
3                      costs.

4             3.19     The Balaji Logistics Umbrella Policy includes Form CU 24 30 04 13,

5    Amendment of Insured Contract Definition, which provides:

6                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
                                        CAREFULLY.
7
                            AMENDMENT OF INSURED CONTRACT DEFINITION
8             This endorsement modifies insurance provided under the following:

9             COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
              Paragraph 9. of the Definitions section is replaced by the following:
10
              9.        “Insured contract” means:
11                     a.     A contract for a lease of premises. However, that portion of the
                              contract for a lease of premises that indemnifies any person or
12                            organization for damage by fire to premises while rented to you
                              or temporarily occupied by you with permission of the owner is
13                            not an “insured contract”;
                       b.     A sidetrack agreement;
14
                       c.     Any easement or license agreement, except in connection with
15                            construction or demolition operations on or within 50 feet of a
                              railroad;
16                     d.     An obligation, as required by ordinance, to indemnify a
                              municipality, except in connection with work for a municipality;
17
                       e.      An elevator maintenance agreement;
18                     f.     That part of any contract or agreement entered into, as part of
                              your business, pertaining to the rental or lease, by you or any of
19                            your “employees”, of any “auto”. However, such contract or
                              agreement shall not be considered an “insured contract” to the
20                            extent that it obligates you or any of your “employees” to pay for
                              “property damage” to any “auto” rented or leased by you or any
21                            of your “employees”;

22                     g.     That part of any other contract or agreement pertaining to your
                              business (including an indemnification of a municipality in
23                            connection with work performed for a municipality) under which

24   COMPLAINT FOR DECLARATORY JUDGMENT – 19                                      SOHA & L ANG, P.S.
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1                              you assume the tort liability of another party to pay for “bodily
                               injury” or “property damage” to a third person or organization,
2                              provided the “bodily injury” or “property damage” is caused, in
                               whole or in part, by you or by those acting on your behalf.
3                              However, such part of a contract or agreement shall only be
                               considered an “insured contract” to the extent your assumption of
4                              the tort liability is permitted by law. Tort liability means a
                               liability that would be imposed by law in the absence of any
5                              contract or agreement.
                       Paragraphs f. and g. do not include that part of any contract or
6                      agreement:
7                      (1)     That indemnifies a railroad for “bodily injury” or “property
                               damage” arising out of construction or demolition operations,
8                              within 50 feet of any railroad property and affecting any railroad
                               bridge or trestle, tracks, road-beds, tunnel, underpass or crossing;
9                      (2)      That pertains to the loan, lease or rental of an “auto” to you or
                               any of your “employees”, if the “auto” is loaned, leased or rented
10                             with a driver; or

11                     (3)     That holds a person or organization engaged in the business of
                               transporting property by “auto” for hire harmless for your use of
12                             a “covered auto” over a route or territory that person or
                               organization is authorized to serve by public authority.
13                          IV. ACTUAL AND JUSTICIABLE CONTROVERSIES

14   A.       Balaji Logistics CGL Policy

15            4.1      There is an actual and justiciable controversy as to whether the claims in the

16   ACF Lawsuit allege “bodily injury” or “property damage” within the Coverage A Insuring

17   Agreement.

18            4.2      There is an actual and justiciable controversy as to whether the claims in the

19   ACF Lawsuit allege an “occurrence” within the Coverage A Insuring Agreement.

20            4.3      There is an actual and justiciable controversy as to whether the claims in the

21   ACF Lawsuit are excluded by Coverage A, Exclusion a.

22            4.4      There is an actual and justiciable controversy as to whether the claims in the

23   ACF Lawsuit are excluded by Coverage A, Exclusion b.

24   COMPLAINT FOR DECLARATORY JUDGMENT – 20                                         SOHA & L ANG, P.S.
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1             4.5      There is an actual and justiciable controversy as to whether the claims in the

2    ACF Lawsuit are excluded by Coverage A, Exclusion j.5.

3             4.6      There is an actual and justiciable controversy as to whether the claims in the

4    ACF Lawsuit are excluded by Coverage A, Exclusion j.6.

5             4.7      There is an actual and justiciable controversy as to whether the claims in the

6    ACF Lawsuit are excluded by Coverage A, Exclusion k.

7             4.8      There is an actual and justiciable controversy as to whether the claims in the

8    ACF Lawsuit are excluded by Coverage A, Exclusion l.

9             4.9      There is an actual and justiciable controversy as to whether the claims in the

10   ACF Lawsuit are excluded by Coverage A, Exclusion m.

11            4.10     There is an actual and justiciable controversy as to whether Western National

12   has a right to reimbursement for all costs and fees expended in defense Balaji Logistics for the

13   claims alleged in the ACF Lawsuit.

14   B.       Balaji Logistics Umbrella Policy

15            4.11     There is an actual and justiciable controversy as to whether the claims in the

16   ACF Lawsuit allege “ultimate net loss” in excess of the “retained limit” within the Coverage A

17   Insuring Agreement.

18            4.12     There is an actual and justiciable controversy as to whether the underlying

19   insurance does not provide coverage or the limits of underlying insurance have been exhausted.

20            4.13     There is an actual and justiciable controversy as to whether the claims in the

21   ACF Lawsuit allege “bodily injury” or “property damage” within the Coverage A Insuring

22   Agreement.

23

24   COMPLAINT FOR DECLARATORY JUDGMENT – 21                                     SOHA & L ANG, P.S.
                                                                                    ATTORNEYS AT LAW
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1             4.14     There is an actual and justiciable controversy as to whether the claims in the

2    ACF Lawsuit allege an “occurrence” within the Coverage A Insuring Agreement.

3             4.15     There is an actual and justiciable controversy as to whether the claims in the

4    Balaji Logistics Lawsuit are excluded by Coverage A, Exclusion a.

5             4.16     There is an actual and justiciable controversy as to whether the claims in the

6    ACF Lawsuit are excluded by Coverage A, Exclusion b.

7             4.17     There is an actual and justiciable controversy as to whether the claims in the

8    ACF Lawsuit are excluded by Coverage A, Exclusion m.5.

9             4.18     There is an actual and justiciable controversy as to whether the claims in the

10   ACF Lawsuit are excluded by Coverage A, Exclusion m.6.

11            4.19     There is an actual and justiciable controversy as to whether the claims in the

12   ACF Lawsuit are excluded by Coverage A, Exclusion n.

13            4.20     There is an actual and justiciable controversy as to whether the claims in the

14   ACF Lawsuit, other than the Lateral Support Claims, are excluded by Coverage A, Exclusion o.

15            4.21     There is an actual and justiciable controversy as to whether the claims in the

16   ACF Lawsuit are excluded by Coverage A, Exclusion p.

17            4.22     There is an actual and justiciable controversy as to whether Western National

18   has a right to reimbursement for all costs and fees expended in defense of Balaji Logistics for

19   all claims alleged in the ACF Lawsuit.

20                           V. CLAIM FOR DECLARATORY JUDGMENT

21            5.1      Western National incorporates by reference and re-alleges the allegations

22   contained in the preceding paragraphs.

23

24   COMPLAINT FOR DECLARATORY JUDGMENT – 22                                     SOHA & L ANG, P.S.
                                                                                    ATTORNEYS AT LAW
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1             5.2      Plaintiff Western National seeks a judicial declaration of rights and duties under

2    the Balaji Logistics CGL Policy and the Balaji Logistics Umbrella Policy pursuant to 28 U.S.C.

3    §§ 2201 and 2202.

4             5.3      Plaintiff Western National is entitled a declaratory judgment in its favor, namely

5    that it has no duty to defend or indemnify Balaji Logistics for the claims alleged against it in

6    the ACF Lawsuit.

7             VI. CLAIM FOR REIMBURSEMENT OF DEFENSE COSTS INCURRED

8             6.1      Western National incorporates by reference and re-alleges the allegations

9    contained in the preceding paragraphs.

10            6.2       Both the Balaji Logistics CGL Policy and the Balaji Logistics Umbrella Policy

11   contain the same endorsement entitled Washington Changes – Defense Costs, which provides:

12                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
                                        CAREFULLY.
13
                             WASHINGTON CHANGES – DEFENSE COSTS
14            This endorsement modifies insurance provided under the following:
15                                                ***
              COMMERCIAL GENERAL LIABILITY COVERAGE PART
16
              A.       The provisions of Paragraph B. are added to all Insuring Agreements that
17                     set forth a duty to defend under:
                       1.     Section I of the Commercial General Liability, Commercial
18                            Liability Umbrella, Electronic Data Liability, Farm, Liquor
                              Liability, Owners And Contractors Protective Liability, Pollution
19                            Liability, Products/Completed Operations Liability, Product
                              Withdrawal, Medical Professional Liability, Railroad Protective
20                            Liability and Underground Storage Tank Coverage Parts, Auto
                              Dealers Coverage Form and the Farm Umbrella Liability Policy;
21
                                                  ***
22            B.       If we initially defend an insured (“insured”) or pay for an insured’s
                       (“insured’s”) defense but later determine that none of the claims
23                     (“claims”), for which we provided a defense or defense costs, are

24   COMPLAINT FOR DECLARATORY JUDGMENT – 23                                       SOHA & L ANG, P.S.
                                                                                      ATTORNEYS AT LAW
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25                                                                              SEATTLE, WASHINGTON 98101
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1                      covered under this insurance, we have the right to reimbursement for the
                       defense costs we have incurred.
2                      The right to reimbursement under this provision will only apply to the
                       costs we have incurred after we notify you in writing that there may not
3                      be coverage and that we are reserving our rights to terminate the defense
                       or the payment of defense costs and to seek reimbursement for defense
4                      costs.
5             6.3      If this court determines that the claims alleged against Balaji Logistics in the

6    ACF Lawsuit are not covered under the Balaji Logistics CGL Policy and the Balaji Logistics

7    Umbrella Policy, Western National is entitled to reimbursement of any and all costs it has

8    incurred (after notifying said defendant in writing of its reservation of rights in this regard) in

9    defending each party that the Court determines is not entitled to a defense.

10                                     VII. REQUEST FOR RELIEF

11            WHEREFORE, Western National Mutual Insurance Company, having specifically

12   alleged the foregoing, requests the following relief:

13            1.       For a determination of the rights and duties of the parties hereto under the

14   insurance policies;

15            2.       For a declaration that Western National does not owe a duty to defend or

16   indemnify Balaji Logistics for all claims alleged against it in the ACF lawsuit;

17            3.       For a declaration that Western National is permitted to withdraw from the

18   defense of Balaji Logistics for all claims alleged against it in the ACF Lawsuit;

19            4.       For a declaration that Western National is entitled to reimbursement of all

20   defense costs incurred in defending Balaji Logistics from all claims alleged against it in the

21   ACF lawsuit;

22            5.       For entry of judgment in the amount of defense costs incurred in defending

23   Balaji Logistics from all claims alleged against it in the ACF lawsuit;

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1             6.       For all interest as allowed by applicable law;

2             7.       For attorney’s fees and costs incurred in this lawsuit as allowed by applicable

3    law.

4             8.       For other and further relief as the Court deems just and equitable.

5             DATED this 11th day of December, 2023.

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                                                     SOHA & LANG, P.S.
7
                                                     By:    s/Paul Rosner
8                                                      Paul Rosner, WSBA # 37146
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12                                                      Telephone: 206-624-1800
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13                                                      Attorneys for Plaintiff Western National Mutual
                                                        Insurance Company
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